













Opinion issued March 24, 2005








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-04-00437-CV
____________

PATRICK W. JURSS, Appellant

V.

S.I.T., INC., Appellee




On Appeal from the 152nd District Court
Harris County, Texas
Trial Court Cause No. 2002-22605




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed a motion to dismiss his appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Alcala, and Higley.


